            Case 6:20-cv-00701-ADA Document 1 Filed 07/30/20 Page 1 of 8




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 NCS MULTISTAGE INC.,                            §
                                                 §
    Plaintiff,                                   §   CIVIL ACTION NO. 6:20-cv-701
                                                 §
                      vs.                        §
                                                 §
 PERMIAN PETROLINK, LLC.,                        §
                                                 §
    Defendant.                                   §


                   ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff NCS Multistage Inc. (“NCS” or “Plaintiff”), by and through the undersigned

counsel, hereby brings its Complaint for Patent Infringement against Defendant Permian

Petrolink LLC (“Permian Petrolink” or “Defendant”).

                                   NATURE OF THE ACTION

       1.        This is an action for patent infringement. NCS alleges that Permian Petrolink

infringes the following NCS Patent, which is attached hereto as Exhibit A:

                 • U.S. Patent No. 10,465,445 (“the ’445 Patent”)

       2.        NCS alleges that Permian Petrolink infringes the ’445 Patent by making, using,

offering for sale, selling, and/or importing the Glass Floatation Collar and Glass Floatation

Collar - Slimline (hereafter collectively “Glass Floatation Collars”). NCS seeks damages,

injunctive, and other relief for infringement of the ’445 Patent.

                                          THE PARTIES

       3.        Plaintiff NCS is a Canadian corporation with a place of business at 700, 333-7th

Ave SW Calgary, AB T2P 2Z1, and with worldwide headquarters at 19350 State Highway 249,

Suite 600, Houston, TX 77070.
             Case 6:20-cv-00701-ADA Document 1 Filed 07/30/20 Page 2 of 8




        4.      Upon information and belief, Defendant Permian Petrolink is a Texas limited

liability company with a principal place of business at 3217 Commercial Drive, Midland, TX

79701. Permian Petrolink’s registered agent for service of process is Reece A. Roberts, at 2012

Country Club Drive, Midland, TX 79701.

                                 JURISDICTION AND VENUE

        5.      This action for patent infringement arises under the Patent Laws of the United

States, 35 U.S.C. § 1 et. seq. This Court has original jurisdiction under 28 U.S.C. §§ 1331 and

1338.

        6.      This Court has general personal jurisdiction over Permian Petrolink because it is a

resident of Texas and has a principal place of business in Texas.

        7.      Venue is proper in this district under 28 U.S.C. §§ 1391 and 1400(b) because,

upon information and belief, Permian Petrolink is a resident of Texas, has a principal place of

business in Midland, TX (which is within the jurisdiction of the Western District of Texas) and

has committed acts of infringement in the Western District of Texas by selling infringing Glass

Floatation Collars in the Western District of Texas. Permian Petrolink’s website states that it is

focused on having a sales presence in the Permian Region, which is in the Western District of

Texas. See https://permianpetrolink.com/.

                                        BACKGROUND

   A. NCS

        8.      NCS is a leading technology and service company that specializes in multistage

well completions. NCS initially formed in Canada in 2006 as NCS Oilfield Services and began

developing downhole completion tools for conventional and unconventional completions. In

2008, NCS incorporated in the United States and established its world headquarters in Houston,



                                                 2
             Case 6:20-cv-00701-ADA Document 1 Filed 07/30/20 Page 3 of 8




TX. Today, NCS has 20 offices in the U.S. and Canada, and operates in Argentina, China,

Russia, the Middle East and the North Sea, with a record of over 10,000 field successes.

        9.      NCS is an expert in developing downhole tools like its AirLock® buoyancy

system, a “casing float tool” covered by the ’445 Patent. NCS marks its AirLock® system with

the web address of its patent notice which contains the ’445 Patent number. As a casing string is

run into the horizontal portion of a wellbore the casing string can drag on the bottom of the

wellbore due to its weight and gravity. This makes it challenging to run the casing to the target

zone. The AirLock® system is designed to create buoyancy in the casing string, so that the

string is lighter and it is easier to run the casing into the wellbore. This is called “floating the

casing” into the wellbore. Below is a picture of the patented Airlock® system.




        10.     The AirLock® system (above in green) is a tubular body attached to the casing

string (above in grey). Within the tubular is a rupture disc (above in white). In use, the portion

of the casing string above the rupture disc is filled with fluid. The portion of the casing string

                                                   3
          Case 6:20-cv-00701-ADA Document 1 Filed 07/30/20 Page 4 of 8




below the rupture disc is filled with air, which creates buoyancy in the lower portion of the

string. This enhanced buoyancy reduces sliding friction up to 50% while the enhanced weight of

the vertical section provides the force needed to push the string all the way to the toe of the well.

After the casing string is run to the target zone, hydraulic pressure is applied from the surface,

which causes the rupture disc to disengage from the tubular walls and shatter. This process

restores the internal diameter of the casing string so that fluid can freely flow through the casing

string. More than 9,000 AirLock systems have been installed, and casing has landed on more

than 99.9% of first attempts.

       11.     NCS invests substantial resources in innovation and the protection of its valuable

intellectual property. To date, NCS has worldwide approximately 51 issued patents, including

the ’445 Patent that covers its AirLock® System, and 98 pending patent applications.

   B. PERMIAN PETROLINK

       12.     According to its website, Permian Petrolink is an oil and gas company based in

Midland, TX that sells drilling and completions tools, including its Glass Floatation Collars. See

https://permianpetrolink.com/. Below is an image of the Glass Floatation Collar from Permian

Petrolink’s marketing materials:




       13.     According to Permian Petrolink’s marketing materials (see Exhibit B), the Glass

Floatation Collars are casing floatation devices that create buoyancy in the casing string that

makes it easier to run casing through the horizontal portion of a wellbore. The Glass Floatation



                                                  4
           Case 6:20-cv-00701-ADA Document 1 Filed 07/30/20 Page 5 of 8




Collars are tubulars with glass barriers. Once the casing lands in the target zone, the glass barrier

is ruptured by applying hydraulic pressure from the surface, which restores the internal diameter

of the casing string.

   C. NCS NOTIFIES PERMIAN PETROLINK OF INFRINGEMENT CONCERNS IN
      JULY 2020

        14.    On July 10, 2020, NCS’s Vice President of US Sales contacted Permian

Petrolink’s owner to notify Permian Petrolink of the ’445 Patent and NCS’s concern that

Permian Petrolink’s Glass Floatation Collars infringe the ’445 Patent.

                    COUNT 1: INFRINGEMENT OF THE ’445 PATENT

       15.     The allegations of paragraphs 1-14 of this Complaint are incorporated by

reference as though fully set forth herein.

       16.     NCS owns by assignment the entire right, title, and interest in the ’445 Patent.

       17.     The ’445 Patent was duly and legally issued by the United States Patent and

Trademark Office on November 5, 2019 and is entitled “Casing Float Tool.” A true and correct

copy of the ’445 Patent is attached hereto as Exhibit A.

       18.     The ’445 Patent is valid and enforceable under the laws of the United States.

       19.     Permian Petrolink has directly infringed and is directly infringing at least claims

14-15, 22-25, and 27 of the ’445 Patent in violation of 35 U.S.C. § 271 et seq., by making, using,

offering for sale, selling, and/or importing in the United States without authority the accused

Glass Floatation Collars. For example, as shown in the claim chart attached hereto as Exhibit C,

the Glass Floatation Collar meets every element of claim 14 either literally or under the doctrine

of equivalents. Upon information and belief, the Glass Floatation Collar – Slimline only differs

from the Glass Floatation Collar in size, is functionally identical to the Glass Floatation Collar,




                                                  5
          Case 6:20-cv-00701-ADA Document 1 Filed 07/30/20 Page 6 of 8




and thus equally meets every element of claim 14 either literally or under the doctrine of

equivalents.

       20.     Permian Petrolink has indirectly infringed and/or is indirectly infringing at least

claims 22-25 and 27 of the ’445 Patent in violation of 35 U.S.C. § 271 et seq. With knowledge of

the ’445 Patent, Permian Petrolink has induced and/or is inducing customers to directly infringe

the ’445 Patent by directing, causing, instructing and/or encouraging its customers to use the

Glass Floatation Collars to perform the methods of claims 22-25 and 27 of the ’445 Patent. For

example, Permian Petrolink advertises to customers in its marketing materials (attached as

Exhibit B) that its Glass Floatation Collars can be installed on casing and run into a well with

the casing. A rupture disc in the device creates buoyancy so that the casing can be floated to the

target zone. Permian Petrolink advertises that once its customers run the casing to the target

zone, they can apply pressure to rupture the rupture disc in the Glass Floatation Collars, which

restores the casing diameter.

       21.     Permian Petrolink’s infringement of the ’445 Patent has been and continues to be

willful and deliberate. Upon information and belief, Permian Petrolink has been on notice of its

infringement of the ’445 Patent since at least July 10, 2020, when NCS’s Vice President of US

Sales notified Permian Petrolink’s owner about the infringement. However, upon information

and belief, Permian Petrolink continues to use, sell, offer to sell, and import the accused Glass

Floatation Collars, despite a known or obvious risk of infringement of the ’445 Patent.

       22.     As a result of Permian Petrolink’s acts of infringement, NCS has suffered and will

continue to suffer damages in an amount to be proved at trial.




                                                 6
           Case 6:20-cv-00701-ADA Document 1 Filed 07/30/20 Page 7 of 8




                                  PRAYER FOR RELIEF

      WHEREFORE, NCS prays for the following relief:

      A.      A judgment that Permian Petrolink has infringed the ’445 Patent;

      B.      An order enjoining Permian Petrolink, its officers, agents, employees, and those

              persons in active concert or participation with any of them, and Permian

              Petrolink’s successors and assigns, from continuing to infringe the ’445 Patent;

      C.      An order awarding Permian Petrolink its damages pursuant to 35 U.S.C. § 284;

      D.      An order finding that Permian Petrolink’s infringement has been willful and

              increasing the damages awarded to NCS to three times the amount assessed

              pursuant to 35 U.S.C. § 284;

      E.      An order finding that this case is exceptional within the meaning of 35 U.S.C. §

              285 and awarding NCS its attorneys’ fees;

      F.      An order awarding NCS prejudgment and post-judgment interest on its damages;

      G.      An order awarding NCS its costs;

      H.      An order awarding NCS any other and further relief as the Court deems proper.


Dated: July 30, 2020                               Respectfully submitted,

                                                   /s/ Domingo M. LLagostera
                                                   Domingo M. LLagostera
                                                   (Attorney-in-charge)
                                                   State Bar No. 24070157
                                                   Russell T. Wong
                                                   State Bar No. 21884235
                                                   Blank Rome LLP
                                                   717 Texas Avenue, Suite 1400
                                                   Houston, TX 77002
                                                   Tel.: (713) 228-6601
                                                   Fax: (713) 228-6605
                                                   DLLagostera@BlankRome.com
                                                   rwong@blankrome.com


                                               7
Case 6:20-cv-00701-ADA Document 1 Filed 07/30/20 Page 8 of 8




                                 Attorneys for Plaintiff NCS Multistage, Inc.




                             8
